  Case 1:23-cv-01067-MN Document 8 Filed 11/22/23 Page 1 of 7 PageID #: 61




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

                                           :
Andrew R. Vara, in his capacity as the     :
United States Trustee for Region 3; Tara   :
Twomey, in her capacity as Director of the :
Executive Office for United States Trus-   :
tees; and the United States Trustee Pro-   :
gram,                                      :
                                           :
                            Appellants,    :
                                           : 1:23-cv-01067-MN
       v.                                  : BAP No. 23-00056
                                           :
Dean A. Ziehl, in his capacity as Trustee  :
of the TWC Liquidating Trust,              :
                                           :
                             Appellee      :
                                           :
                                           :

 APPELLANTS’ REPLY IN SUPPORT OF MOTION TO STAY APPEAL
  GIVEN THE SUPREME COURT’S GRANT OF A PETITION FOR A
WRIT OF CERTIORARI IN UNITED STATES TRUSTEE v. JOHN Q. HAM-
              MONS FALL 2006, LLC, No. 22-1238

      Appellants, Andrew R. Vara, in his official capacity as United States Trustee

for Region 3, Tara Twomey, in her official capacity as Director of the Executive

Office for United States Trustees, and the United States Trustee Program (collec-

tively, “Appellants” or “United States Trustee”), hereby file this reply in support of

Appellants’ Motion to Stay Appeal Given the Supreme Court’s Grant of a Petition
  Case 1:23-cv-01067-MN Document 8 Filed 11/22/23 Page 2 of 7 PageID #: 62




for a Writ of Certiorari in United States Trustee v. John Q. Hammons Fall 2006,

LLC, No. 22-1238 (Doc. 5), and respectfully state as follows:

      1.    The Liquidation Trustee’s limited objection does not dispute that a stay

of this appeal “is procedurally appropriate to await the Supreme Court’s decision in

Hammons Fall as it will directly affect this appeal. Appellee’s Limited Objection to

Appellant’s Motion to Stay Appeal (“Objection”) (Doc. 7) at ¶ 5. This Court should

grant Appellant’s Motion.

      2.    The only objection the Liquidation Trustee has raised is purported prej-

udice to him because the stay would delay an agreement with the United States Trus-

tee about the precise repayment amount in this case if the Supreme Court ultimately

determines that repayment remedy is required. See Objection at ¶ 6-7. But there is

no reason for the parties to agree to a potential repayment amount at this time. In-

deed, the bankruptcy court’s order states it will only enter the final order on the

repayment amount “once its order becomes final and non-appealable.” Opinion at

15, Bankr. Adv. Pro. Doc. 25.

      3.    Awaiting the Supreme Court’s decision in Hammons will not delay the

ultimate resolution of the potential repayment amount any more than pursuing the

present appeal would. The Supreme Court is set to hear argument in Hammons on

January 9, 2024. See Docket, Office of the United States Trustee v. John Q. Ham-

mons Fall 2006, LLC, No. 22-1238. Absent a stay here, the parties have agreed to a


                                         2
  Case 1:23-cv-01067-MN Document 8 Filed 11/22/23 Page 3 of 7 PageID #: 63




briefing schedule that will not be complete until April 5, 2024, not to mention this

Court’s own time to render its decision. See Order (Doc. 6).

      4.     Further, any agreement by the parties on the potential repayment

amount would be rendered moot if the Supreme Court ultimately holds that a repay-

ment remedy is not required. And even if the parties were to agree to a potential

repayment amount at this time, the Supreme Court could order a remedy that is not

contemplated by the parties and requires a different calculation. The reason to stay

the case is precisely to preserve the status quo, as well as “the time and effort” of

this Court, counsel, and litigants. Landis v. North American Co., 299 U.S. 248, 254-

55 (1936).

      5.     Further, the Liquidation Trustee overstates the purported prejudice

from not yet having an agreement on the potential repayment amount. The amount

at issue is not a complete unknown. As the Liquidation Trustee recognizes by quot-

ing the bankruptcy court’s Opinion, the amount is in the neighborhood of $1 million.

See Objection at ¶ 2. Although it is unclear why the Liquidation Trustee needs to

make determinations about distributing and reserving amounts not yet awarded or

part of the bankruptcy estate, the information available should be sufficient to allow

for estimates. And as noted above, those estimates would have to reevaluated in any

event if the Supreme Court ultimately concluded no repayment remedy is required

or otherwise determines some other calculation than the parties have not


                                          3
   Case 1:23-cv-01067-MN Document 8 Filed 11/22/23 Page 4 of 7 PageID #: 64




contemplated is the correct remedy.

      6.     As noted in their Motion, Appellants will promptly inform this Court

after the Supreme Court has rendered a decision in Hammons. If the outcome of the

Supreme Court’s decision is that repayment is due the Liquidation Trustee, the

United States will also promptly work with the Liquidation Trustee to determine the

repayment amount. There will be no prejudice to the Liquidation Trustee by await-

ing the Supreme Court’s decision on this issue.

                                   CONCLUSION

      For the reasons set forth above, and in the Appellants’ Motion (Doc. 5), Ap-

pellants respectfully request that this Court stay this appeal.



DATED: November 22, 2023                  Respectfully submitted,
                                          Andrew R. Vara,
                                          United States Trustee
                                          Regions 3 and 9




                                           4
 Case 1:23-cv-01067-MN Document 8 Filed 11/22/23 Page 5 of 7 PageID #: 65




                                   By: /s/ Jane M. Leamy
RAMONA D. ELLIOTT                  ANDREW R. VARA,
Deputy Director/General Counsel    United States Trustee, Region 3
P. MATTHEW SUTKO                   JOSEPH J. MCMAHON, JR.
Associate General Counsel          Assistant United States Trustee
ANDREW W. BEYER                    JANE M. LEAMY (#4113)
Trial Attorney                     Trial Attorney
Department of Justice              HANNAH J. McCOLLUM
Executive Office for               Trial Attorney
United States Trustees             Department of Justice
441 G Street, N.W., Suite 6150     Office of the United States Trustee
Washington, DC 20530               844 King Street, Suite 2207
(202) 307-1399                     Lockbox 35
Fax: (202) 307-2397                Wilmington, DE 19801
                                   (302) 573-6491
                                   Fax: (302) 573-6497
                                   jane.m.leamy@usdoj.gov
                                   hannah.mccollum@usdoj.gov




                                    5
  Case 1:23-cv-01067-MN Document 8 Filed 11/22/23 Page 6 of 7 PageID #: 66




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Dated: November 22, 2023                         /s/ Jane M. Leamy
                                                 Jane M. Leamy




                                       6
   Case 1:23-cv-01067-MN Document 8 Filed 11/22/23 Page 7 of 7 PageID #: 67




                           CERTIFICATE OF SERVICE

       I hereby certify that on November 22, 2023, I electronically filed the forego-
ing with the Clerk of this Court using the CM/ECF system which will send notifica-
tion of such filing to all ECF registrants in this case. I further certify that the fore-
going was emailed to counsel for Plaintiff:

      Gail S. Greenwood
      Jason H. Rosell
      Pachulski Stang Ziehl & Jones LLP
      150 California St.
      15th Floor
      San Francisco, CA 94111
      Email: ggreenwood@pszjlaw.com
      Email: jrosell@pszjlaw.com

      Colin R. Robinson
      Pachulski Stang Ziehl & Jones LLP
      919 North Market Street
      17th Floor
      Wilmington, DE 19801
      Email: crobinson@pszjlaw.com

                                               /s/ Jane M. Leamy
                                               Jane M. Leamy




                                           7
